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                    IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


 TONYA CLAY, et al.,                             Case No. 1:18 CV 2929

         Plaintiffs,                             Judge Solomon Oliver, Jr.

 -vs-

 CUYAHOGA COUNTY, et al.,

          Defendants.



                               JOINT STATUS REPORT



         Plaintiffs and the Cuyahoga County Defendants (the “Parties”) submit this joint

status report. The Parties are still negotiating, and additional time is needed to finalize

the agreement. The Parties continue to cooperate in negotiations and anticipated

finalizing the settlement prior to August 1, 2023. Accordingly, the Parties respectfully ask

this Court to continue to hold this case in abeyance pending the Parties’ ongoing efforts

towards finalizing a resolution to this case. The Parties will jointly notify the Court of the

status of the case on August 1, 2023, and whether a resolution has been reached.


                                           Respectfully submitted,

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                                           Prosecuting Attorney of Cuyahoga County

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